~ Case 2:05-cv-02433-JWL Document 402 Filed 09/25/07 Page 1 of 7

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

SPRINT COMMUNICATIONS
COMPANY L.P.,

Plaintiff,
Vv. Case No. 05-2433-JWL

VONAGE HOLDINGS CORP. and
VONAGE AMERICA, INC.,

Defendants.

 

VERDICT
We, the jury, duly impaneled and sworn, upon our oaths, present the following answer

to the questions submitted by the court:

Infringement and Invalidity

Please answer each of the subparts of Questions I through 14.
1, Claim 38 of the ‘572 Patent

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 38 of the ‘572 patent?

Yes "4 No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 38 of the ‘572 patent is invalid?

Yes No XK

 
 

Case 2:05-cv-02433-JWL Document 402 Filed 09/25/07 Page 2 of 7

Claim 42 of the ‘572 Patent (which is dependent on claim 38 of the ‘572 patent)

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 42 of the ‘572 patent?

Yes A No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 42 of the ‘572 patent is invalid?

Yes No v4

Claim 51 of the ‘572 Patent (which is dependent on claim 38 of the ‘572 patent)

 

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 51 of the ‘572 patent?

Yes x No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 51 of the ‘572 patent is invalid?

Yes No 4

Claim 1 of the ‘561 Patent

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 1 of the ‘561 patent?

Yes nd No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 1 of the ‘561 patent is invalid?

Yes No %

 
Case 2:05-cv-02433-JWL Document 402 Filed 09/25/07 Page 3 of 7

Claim 23 of the ‘561 Patent (which is dependent on claim 1 of the ‘561 patent)

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 23 of the ‘561 patent?

Yes x No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 23 of the ‘561 patent is invalid?

Yes No A

Claim 18 of the ‘932 Patent

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 18 of the ‘932 patent?

Yes % No _

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 18 of the ‘932 patent is invalid?

Yes No %
Claim 1 of the ‘429 Patent

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 1 of the ‘429 patent?

Yes A No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 1 of the ‘429 patent is invalid?

Yes No X

 
 

Case 2:05-cv-02433-JWL Document 402 Filed 09/25/07 Page 4 of 7

8. Claim 5 of the ‘429 Patent (which is dependent on claim | of the ‘429 patent)

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 5 of the ‘429 patent?

Yes A No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 5 of the ‘429 patent is invalid?

Yes No xX __

9, Claim 1 of the ‘064 Patent

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 1 of the ‘064 patent?

Yes No

db. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 1 of the ‘064 patent is invalid?

Yes No x

10. Claim 5 of the ‘064 Patent (which is dependent on claim 1 of the ‘064 patent)

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 5 of the ‘064 patent?

Yes X No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 5 of the ‘064 patent is invalid?

Yes No X
Case 2:05-cv-02433-JWL Document 402 Filed 09/25/07 Page 5 of 7

11. Claim 7 of the ‘064 Patent (which is dependent on claim 1 of the ‘064 patent)

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 7 of the ‘064 patent?

Yes x No_

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 7 of the ‘064 patent is invalid?

Yes No Xx

12. Claim 19 of the ‘294 Patent

a, Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 19 of the ‘294 patent?

Yes x No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 19 of the ‘294 patent is invalid?

Yes No x

13. Claim 26 of the ‘294 Patent (which is dependent on claim 19 of the ‘294 patent)

a. Do you find that Sprint has proved, by a preponderance of the evidence, that
Vonage’s accused system infringes claim 26 of the ‘294 patent?

Yes x No

b. Do you find that Vonage has proved, by clear and convincing evidence, that
claim 26 of the ‘294 patent is invalid?

Yes No x
Case 2:05-cv-02433-JWL Document 402 Filed 09/25/07 Page 6 of 7

14. Claim 27 of the ‘294 Patent (which is dependent on claim 19 of the ‘294 patent)

Do you find that Sprint has proved, by a preponderance of the evidence, that

a.
Vonage’s accused system infringes claim 27 of the ‘294 patent?
Yes x No
b. Do you find that Vonage has proved, by clear and convincing evidence, that

claim 27 of the ‘294 patent is invalid?

Yes No x

(If your answers to the above questions include a finding that any one or more of the
asserted patent claims is infringed and not invalid, please proceed to answer each of
Questions 15, 16, and I7 below which follow the headings on “Damages” and
“Willfulness.” If your answers to the above questions include a finding of no infringement
and/or of invalidity as to each of the asserted patent claims, your deliberations are complete
and your foreperson should sign this verdict form and notify the court that you have reached

your verdict.)

Damages

15. What amount of damages, if any, do you award Sprint as a reasonable royalty for

Vonage’s infringement of the asserted patent claims?

$_ (99,800,000

16. What is the reasonable royalty when expressed as a percentage of revenues?

\ ) %

 
 

Case 2:05-cv-02433-JWL Document 402 Filed 09/25/07 Page 7 of 7

Willfulness
17. Do you find that Sprint has proved, by clear and convincing evidence, that Vonage’s

infringement was willful?
/

Yes rs No

Your deliberations are complete. Please have the foreperson sign and date this verdict form

  

4 las bbe

Date

 
